 

 

Case 1:18-cr-00315-.]E.] Document 14 Filed 09/21/18 Page 1 of 1

UN|TED STATES DlSTRlCT COURT
MIDDLE DlSTRlCT OF PENNSYLVAN|A

UN|TED STATES_OF AIV|ER|CA ' \ _
CR||V||NAL NO. 1:18-CR-OO315

(Judge John E. Jones, lll)
JORGE LU|S ROSA-HERNANDEZ,
§ Fll_ED
Defendant(s) . HARR|S URG, PA

SEP

oRDER PER'

b DEPUTY CLERK
The defendant(s) having appeared on September 21, 2018, and having tendered a

plea of not guiltyl |T lS ORDERED that the jury selection and trial for the defendant is
scheduled for 9:30 a.m. on Monday, November5, 2018, in Courtroom Number1, Ninth Floor,

Federal Building, Third and Walnut Streets, Harrisburg, Pennsylvania. Trial Will commence
following jury selection or following previously scheduled criminal trials. An additional

' scheduling order Will be entered by the District Court.

l\/lartin C. Carlson
U.S. l\/lagistrate Judge

 

 

